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 1 ERIC P. ISRAEL (State Bar No. 132426)
     eisrael@DanningGill.Com
 2 GEORGE E. SCHULMAN (State Bar No. 064572)
     gschulman@DanningGill.com
 3 AARON E. DE LEEST (State Bar No. 216832)
     adeleest@DanningGill.com
 4 DANNING, GILL, ISRAEL & KRASNOFF, LLP
     1901 Avenue of the Stars, Suite 450
 5 Los Angeles, California 90067-6006
     Telephone: (310) 277-0077
 6 Facsimile: (310) 277-5735

 7 Attorneys for Michael A. McConnell,
     Chapter 7 Trustee
 8

 9                           UNITED STATES BANKRUPTCY COURT
10                            CENTRAL DISTRICT OF CALIFORNIA
11                                       NORTHERN DIVISION
12

13 In re                                                Case No. 9:19-bk-11573-MB
14 HVI CAT CANYON, INC.,                                Chapter 11
15                     Debtor.                          SUPPLEMENTAL DECLARATION
                                                        OF GEORGE E. SCHULMAN IN
16                                                      SUPPORT OF TRUSTEE’S
                                                        NOTICE OF MOTION AND
17                                                      MOTION FOR AN ORDER TO
                                                        SHOW CAUSE WHY GIT, INC.
18                                                      SHOULD NOT BE HELD IN
                                                        CONTEMPT; MEMORANDUM OF
19                                                      POINTS AND AUTHORITIES,
                                                        DECLARATION OF GEORGE E.
20                                                      SCHULMAN AND REQUEST FOR
                                                        JUDICIAL NOTICE IN SUPPORT
21                                                      THEREOF
22
                                                  Date: February 11, 2021
23                                                Time: 10:00 a.m.
                                                  Place: Courtroom 201
24                                                       1415 State Street
                                                         Santa Barbara, California
25                                                       93101
26            I, George E. Schulman, declare as follows:
27            1.       I am a member of the State Bar of California. I am the principal of a
28 professional corporation which is one of the partners in Danning, Gill, Israel &
     1637683.1 26932                                1
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 1 Krasnoff, LLP, counsel to Michael A. McConnell, formerly the Chapter 11 Trustee

 2 and now the Chapter 7 Trustee (“Trustee”) in the above entitled bankruptcy case

 3 (“Bankruptcy Case”). I am one of the attorneys at Danning, Gill, Israel & Krasnoff,

 4 LLP, assigned to represent the Trustee. I have personal knowledge of the acts set

 5 forth in this declaration, and, if called as a witness, I could and would testify

 6 competently to these facts.

 7            2.       In January 2021, GIT, through its counsel, provided the Trustee’s
 8 counsel’s office with a thumb drive with a huge amount of data on it. Pursuant to the

 9 Court-approved stipulation (docket no. 1162 approved by docket no. 1164), the dat

10 which remained to be produced were the e-mails of six individuals: Randeep Grewal,

11 Alex G. Dimitrijevic, M. Ernesto Olivares, Susan Whelan, Maribel Aguilera, and Bill

12 LaFluer.

13            3.       I received a copy of the thumb drive on February 5, 2021. Due to
14 COVID restrictions, I work remotely.

15            4.       I immediately noticed that the drive did not contain any e-mails for
16 Randeep Grewal or Bill LaFluer.

17            5.       In a telephone conference around January 25, 2021, Mr. Faith told me
18 that the thumb drive would be missing e-mils from Mr. LaFluer. He made no

19 mention that the thumb drive would be missing e-mails from Mr. Grewal.

20            6.       Mr. Faith told me in an e-mail and in the telephone conversation that the
21 manner in which GIT recovered from the alleged ransomware attack was by

22 restoring prior backups of its data. Accordingly, I have lodged an amended order to

23 make clear that forensic review of GIT’s backups is also required, in addition to the

24 other relief requested.

25            7.       On February 5, 2021, I wrote to Mr. Faith about the missing e-mail for
26 Mr. Grewal and Mr. LaFluer. As of the date of signing this declaration, I have not
27 received a response.

28
     1637683.1 26932                                2
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                                 PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): SUPPLEMENTAL DECLARATION OF GEORGE
E. SCHULMAN IN SUPPORT OF TRUSTEE’S NOTICE OF MOTION AND MOTION FOR AN ORDER TO SHOW
CAUSE WHY GIT, INC. SHOULD NOT BE HELD IN CONTEMPT; MEMORANDUM OF POINTS AND AUTHORITIES,
DECLARATION OF GEORGE E. SCHULMAN AND REQUEST FOR JUDICIAL NOTICE IN SUPPORT THEREOF will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
February 9, 2021 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                       Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On February 9, 2021 , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.

Debtor                                    Debtor
HVI Cat Canyon, Inc.                      HVI Cat Canyon, Inc.
c/o Capitol Corporate Services, Inc.      630 Fifth Avenue
36 S. 18th Avenue, Suite D                Suite 2410
Brighton, CO 80601                        New York, NY 10111


                                                                       Service information continued on attached page.

3. SERVED BY OVERNIGHT MAIL: Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on February 9, 2021, I served
the following persons and/or entities by overnight mail service (FedEx - Monday delivery)as follows. Listing the judge
here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later than
24 hours after the document is filed.

Attys. for Union Oil Company of California and Chevron U.S.A. Inc.:
Robert Wallan robert.wallan@pillsburylaw.com,
Jonathan Doolittle jonathan.doolittle@pillsburylaw.com;
William J. Hotze william.hotze@pillsburylaw.com

Atty for California Department Toxic Substances Control
Anthony A. Austin Anthony.Austin@doj.ca.gov

                                                                       Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  February 9, 2021                     Vivian Servin                            /s/ Vivian Servin
  Date                                 Printed Name                             Signature
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                                     ADDITIONAL SERVICE INFORMATION (if needed):

1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)


   •   Anthony A Austin                  anthony.austin@doj.ca.gov
   •   William C Beall                will@beallandburkhardt.com, carissa@beallandburkhardt.com
   •   Bradley D Blakeley                  blakeley@blakeleylawgroup.com, bradleydblakeley@gmail.com
   •   Alicia Clough              aclough@loeb.com, mnielson@loeb.com,ladocket@loeb.com
   •   Marc S Cohen                mscohen@loeb.com, klyles@loeb.com
   •   Alan D Condren                  , berickson@seedmackall.com
   •   Alan D Condren                  acondren@seedmackall.com, berickson@seedmackall.com
   •   Alec S DiMario alec.dimario@mhllp.com,
       debra.blondheim@mhllp.com;Syreeta.shoals@mhllp.com
   •   Jeremy Faith Jeremy@MarguliesFaithlaw.com,
       Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaith
       law.com
   •   Karl J Fingerhood                  karl.fingerhood@usdoj.gov, efile_ees.enrd@usdoj.gov
   •   H Alexander Fisch                  Alex.Fisch@doj.ca.gov
   •   Don Fisher             dfisher@ptwww.com, tblack@ptwww.com
   •   Brian D Fittipaldi                brian.fittipaldi@usdoj.gov
   •   Ellen A Friedman                  efriedman@friedmanspring.com, khollander@friedmanspring.com
   •   Gisele M Goetz                gmgoetz@hbsb.com, ggoetz@collegesoflaw.edu;cecilia@hbsb.com
   •   Karen L Grant                kgrant@silcom.com
   •   Ira S Greene              Ira.Greene@lockelord.com
   •   Matthew C. Heyn                   Matthew.Heyn@doj.ca.gov, mcheyn@outlook.com
   •   Brian L Holman                  b.holman@mpglaw.com
   •   Brian L Holman                  b.holman@musickpeeler.com
   •   Tracy K Hunckler                   thunckler@daycartermurphy.com, cgori@daycartermurphy.com
   •   Kevin Hutty              BKClaimConfirmation@ftb.ca.gov
   •   Samantha Indelicato                    sindelicato@omm.com

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June 2012                                                                                   F 9013-3.1.PROOF.SERVICE
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   •   Eric P Israel eisrael@DanningGill.com,
       danninggill@gmail.com;eisrael@ecf.inforuptcy.com
   •   Razmig Izakelian                 razmigizakelian@quinnemanuel.com
   •   Evan M Jones                ejones@omm.com, evan-jones-5677@ecf.pacerpro.com
   •   Alan H Katz              akatz@lockelord.com
   •   John C Keith              john.keith@doj.ca.gov
   •   Jeannie Kim              jekim@sheppardmullin.com, dgatmen@sheppardmullin.com
   •   Anna Landa Anna@MarguliesFaithlaw.com,
       Helen@MarguliesFaithLaw.com;Vicky@MarguliesFaithLaw.com;Angela@MarguliesFai
       thLaw.com
   •   Mitchell J Langberg                   mlangberg@bhfs.com, dcrudup@bhfs.com
   •   Maxim B Litvak                  mlitvak@pszjlaw.com
   •   Vincent T Martinez llimone@twitchellandrice.com,
       smccomish@twitchellandrice.com
   •   Michael Arthur McConnell (TR)                              Michael.mcconnell@kellyhart.com,
       tx87@ecfcbis.com
   •   Brian M Metcalf                 bmetcalf@omm.com, brian-metcalf-9774@ecf.pacerpro.com
   •   Monserrat Morales Monsi@MarguliesFaithLaw.com,
       Vicky@MarguliesFaithLaw.com;Helen@marguliesfaithlaw.com;Angela@MarguliesFaith
       law.com
   •   Alan I Nahmias                anahmias@mbnlawyers.com, jdale@mbnlawyers.com
   •   Jerry Namba               nambaepiq@earthlink.net, atty_namba@bluestylus.com
   •   David L Osias dosias@allenmatkins.com,
       bcrfilings@allenmatkins.com,kdemorest@allenmatkins.com,csandoval@allenmatkins.co
       m
   •   Darren L Patrick dpatrick@omm.com, darren-patrick-
       1373@ecf.pacerpro.com;sindelicato@omm.com;ejones@omm.com
   •   Jeffrey N Pomerantz                    jpomerantz@pszjlaw.com
   •   Benjamin P Pugh                  bpugh@ecg.law, mhamburger@ecg.law;calendar@ecg.law
   •   Edwin J Rambuski                    edwin@rambuskilaw.com, marissa@rambuskilaw.com
   •   Hugh M Ray hugh.ray@pillsburylaw.com,
       nancy.jones@pillsburylaw.com,docket@pillsburylaw.com
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   •   Edward S Renwick                    erenwick@hanmor.com, iaguilar@hanmor.com
   •   J. Alexandra Rhim                   arhim@hrhlaw.com
   •   Todd C. Ringstad                  becky@ringstadlaw.com, arlene@ringstadlaw.com
   •   Mitchell E Rishe                mitchell.rishe@doj.ca.gov
   •   George E Schulman GSchulman@DanningGill.Com,
       danninggill@gmail.com;gschulman@ecf.inforuptcy.com
   •   Zev Shechtman zshechtman@DanningGill.com,
       danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
   •   Sonia Singh             ssingh@DanningGill.com, amatsuoka@ecjlaw.com
   •   Daniel A Solitro               dsolitro@lockelord.com, ataylor2@lockelord.com
   •   Ross Spence ross@sdllaw.com,
       brittany@sdllaw.com;donna@sdllaw.com;henry@sdllaw.com
   •   Ruth Stoner Muzzin                    rmuzzin@friedmanspring.com, ehansen@friedmanspring.com
   •   Christopher D Sullivan csullivan@diamondmccarthy.com,
       mdomer@diamondmccarthy.com;kmartinez@diamondmccarthy.com;quentin.roberts@di
       amondmccarthy.com;erika.shannon@diamondmccarthy.com;aiemee.low@diamondmccar
       thy.com
   •   Jennifer Taylor               jtaylor@omm.com
   •   John N Tedford jtedford@DanningGill.com,
       danninggill@gmail.com;jtedford@ecf.inforuptcy.com
   •   Salina R Thomas                  bankruptcy@co.kern.ca.us
   •   Meagan S Tom meagan.tom@lockelord.com,
       autodocket@lockelord.com;taylor.warren@lockelord.com
   •   Patricia B Tomasco pattytomasco@quinnemanuel.com,
       barbarahowell@quinnemanuel.com;cristinagreen@quinnemanuel.com
   •   Philip S Warden philip.warden@pillsburylaw.com,
       thomas.loran@pillsburylaw.com;kathy.stout@pillsburylaw.com;deirdre.campino@pillsbu
       rylaw.com
   •   Fred Whitaker                lshertzer@cwlawyers.com, spattas@cwlawyers.com
   •   William E. Winfield                   wwinfield@calattys.com, scuevas@calattys.com
   •   Richard Lee Wynne richard.wynne@hoganlovells.com,
       tracy.southwell@hoganlovells.com;cindy.mitchell@hoganlovells.com
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                                               Main Document    Page 8 of 9
   •    Emily Young pacerteam@gardencitygroup.com,
        rjacobs@ecf.epiqsystems.com;ECFInbox@epiqsystems.com
   •    David R Zaro               dzaro@allenmatkins.com
   •    Aaron E de Leest adeleest@DanningGill.com,
        danninggill@gmail.com;adeleest@ecf.inforuptcy.com

2. SERVED BY UNITED STATES MAIL:

                                                       20 LARGEST CREDITORS

 Santa Barbara County Treasurer-Tax               Allen Matkins Leck Gamble                          Diamond McCarthy LLP
 Collector                                        865 South Figueroa Street                          909 Fannin Street
 105 E. Anapamu St., Suite 109                    Suite 800                                          37th Floor Two Houston Center
 Santa Barbara, CA 93102                          Los Angeles, CA 90017-2543                         Houston, Texas 77010


                                                  Akin Gump Straus Hauer & Feld
 Santa Barbara County-APCD                                                                           Santa Barbara County P&D
                                                  1999 Avenue of the Stars
 260 NORTH SAN ANTONIO RD.,                                                                          123 East Anapamu Street
                                                  Suite 600
 SANTA BARBARA, CA 93110                                                                             Santa Barbara, CA 93101
                                                  Los Angeles, CA 90067


 W. J. Kenny Corp.
                                                                                                     Ann Jenny Schupp
 C/O Allfirst Bankcorp Trust do M&T               PG&E
                                                                                                     CIO M H Whittier Corp.
 Bank                                             77 Beale St
                                                                                                     1600 Huntington Drive
 One M&T Plaza                                    San Francisco, CA 94177
                                                                                                     South Pasadena, CA 91030
 Buffalo, NY 14203

                                                  J. P. Morgan-Chase
                                                                                                     WEST COAST WELDING &
 William W. Jenny Jr.                             Attn: Michael Kemey
                                                                                                     CONSTR. I
 5101 East Camino Alisa                           450 West 33rd Street, 15th Floor
                                                                                                     2201 Celsius Avenue Suite B
 Tucson, AZ 85718                                 Ref: 030057 Nassau Assoc-Saba
                                                                                                     Oxnard, CA 93030
                                                  New York, NY 10041


                                                                                                     Larsen O'Brien LLP
 Sherrill A. Schoepe                              Andrew Kurth LLP
                                                                                                     555 South Flower
 14974 Adams Dr.                                  600 Travis Suite 4200
                                                                                                     Suite 4400
 Pauma Valley, CA 92061                           Houston, TX 77002
                                                                                                     Los Angeles, CA 90071


                                                  California Department of
 Victory Oil                                                                                         Diane T. Walker
                                                  Conservation
 222 West 6th Street. Suite 1010                                                                     748 Oceanville Road
                                                  801 K Street
 San Pedro, CA 90731                                                                                 Stonington, ME 04681-9714
                                                  Sacramento, CA 95814


 Stoner Family Trust
 James G. Sanford Trustee                         Charles C. Albright Trustee
 100 West Liberty Street                          729 West 16th Street #B8
 Suite 900                                        Costa Mesa, CA 92627
 Reno, NV 89501




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                            OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                                                  Escolle Tenants in Common
 Brian Corson                                                                                        Pacific Petroleum California, Inc.
                                                  215 N. Lincoln Street
 2990 Lichen Place                                                                                   POB 2646
                                                  Santa Maria, CA 93458
 Templeton, CA 93465                                                                                 Santa Maria, CA 93457
                                                  Attn: Vincent T. Martinez


                                            REQUESTS FOR SPECIAL NOTICE

 Attorneys for Buganko
 Philip W. Ganong                                 Frank and Sylvia Boisseranc                        Rob Thomson
 Ganong Law                                       300 W. Paseo de Cristobal                          1920 Wilbur Avenue
 930 Truxtun Avenue, Suite 102                    San Clemente, CA 92672                             San Diego, CA 92109
 Bakersfield, CA 93301

                                                  Colin Roberts, Sr Staff Counsel
 Jane A. Adams and John S. Adams,
                                                  Office of Legal Counsel - Dept of
 Trustees
                                                  Toxic Substances Control
 PO Box 264
                                                  1001 I Street, MS23
 Yorba Linda, CA 92885
                                                  Sacramento, CA 95814


                                                      INTERESTED PARTIES

 Internal Revenue Service                                                                            California Dept. Of Toxic Substance
                                                  Wyatt Sloan-Tribe, Esq.
 (Small Business/Self-Employment                                                                     Control
                                                  Office of the Attorney General
 Div.)                                                                                               (Berkeley Regional Office)
                                                  300 S. Spring Street, Suite 1702
 5000 Ellin Road                                                                                     700 Heinz Avenue, Suite 200
                                                  Los Angeles, CA 90013
 Lanham, MD 20706                                                                                    Berkeley, CA 94710

                                                  United States Attorney’s Office Southern
 California OSHA                                  District of New York
                                                                                                     U.S. Dept. of Transportation
                                                  Attn: Anthony Sun, AUSA
 1515 Clay Street, Suite 1901                     Tax & Bankruptcy Unit
                                                                                                     1200 New Jersey Avenue, SE
 Oakland, CA 94612                                                                                   Washington, DC 20590
                                                  86 Chambers Street, 3rd Floor
                                                  New York, NY 10007

 State of New York Attorney General
 Attn: Letia A. James
 Dept. of Law
 The Capitol, 2nd Floor
 Albany, NY 12224


5 LARGEST SECURED CLAIMANTS AND THEIR COUNSEL (ONLY 4 LISTED)
                                                  Diamond McCarthy LLP                               GIT, Inc.
 CTS Properties, Ltd.
                                                  c/o Allan B. Diamond and Sheryl P.                 c/o Peter Calamari, Patricia B. Tomasco
 c/o Ira S. Greene
                                                  Giugliano                                          and Devin van der Hahn
 Locke Lord LLP
                                                  Diamond McCarthy LLP                               Quinn Emanuel Urquhart & Sullivan
 200 Vesey Street
                                                  295 Madison Avenue, 27th Floor                     51 Madison Avenue, 22nd Floor
 New York, NY 10281
                                                  New York, NY 10017                                 New York, NY 10010

 UBS AG London Branch                             UBS AG London Branch
                                                                                                     UBS AG London Branch
 c/o Evan M. Jones, Brian M. Metcalf and          c/o Daniel L. Cantor
                                                                                                     c/o Jennifer Taylor
 Darren L. Patrick                                O’Melveny & Myers, LLP
                                                                                                     O’Melveny & Myers, LLP
 O’Melveny & Myers, LLP                           Seven Times Square
                                                                                                     Two Embarcadero Center, 28th Floor
 400 South Hope Street, 18th Floor                New York, NY 10036
                                                                                                     San Francisco, CA 94111
 Los Angeles, CA 90071


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